     Case 16-71479-jrs                           Doc 121              Filed 08/04/20 Entered 08/04/20 13:32:45                                                   Desc Main
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                                                         UNITED STATES BANKRUPTCY COURT
                                                          NORTHERN DISTRICT OF GEORGIA

IN RE:                                                                       }           CASE NUMBER:                             16-71479-jrs
                                                                             }
            QUENTIN ALEXANDER STEPHENS                                       }
                                                                             }           JUDGE           James R. Sacca
                                                                             }
            DEBTOR.                                                          }           CHAPTER 11




                                                   DEBTOR'S POST-CONFIRMATION
                                                   QUARTERLY OPERATING REPORT
                                                           FOR THE PERIOD
                            FROM                       1-Apr-20     TO     30-Jun-20


     Comes now the above-named debtor and files its Post-Confirmation Quarterly Operating Report in accordance with the Guidelines established by the United States Trustee and FRBP

                                                                                             2015.




  Dated:        4-Aug-20                                                                                     /s/ Howard P. Slomka, Esq.
                                                                                                         Attorney for Debtor




            Debtor's Address                                                                             Attorney's Address
            and Phone Number:                                                                            and Phone Number:
            3294 Kylee Dawn Circle                                                                       3500 Riverwood Parkway, Ste 2100
            Lawrenceville, Georgia 30045                                                                 Bar No.: 652875
            Tel: (404) 606-9871                                                                          Tel: (404) 800-4001




Note: The original Post Confirmation Quarterly Operating Report is to be filed with the Court and a copy simultaneously provided to the
United States Trustee. Operating Reports must be filed by the last day of the month following the reporting period.

For assistance in preparing the Post Confirmation Quarterly Operating Report, refer to the following resources on the United States
Trustee website: http://www.justice.gov/ust/r20/index.htm.
1) Instructions for Preparing Debtor's Chapter 11 Post confirmation Quarterly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs)
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MONTHLY OPERATING REPORT -
                                                                           Document     Page 2 of 39
                                                                                                                                                                    ATTACHMENT NO. 1
POST CONFIRMATION




                                                                QUESTIONNAIRE
                                                                                                                                      YES*           NO
1.

       Have any assets been sold or transferred outside the normal course of business, or
       outside the Plan of Reorganization during this reporting period?                                                                         X
2.
       Are any post-confirmation sales or payroll taxes past due?                                                                               X
3.
       Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?                                                     X
4.
       Is the Debtor current on all post-confirmation plan payments?                                                              X


                  *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




                                                         INSURANCE INFORMATION
                                                                                                                                       YES           NO*
1.
       Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
       compensation, and other necessary insurance coverages in effect?
                                                                                                                                  X
2.     Are all premium payments current?
                                                                                                                              X
                   *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.




                                                                         CONFIRMATION OF INSURANCE
                                                                                                                                     Payment Amount             Delinquency
                     TYPE of POLICY                and            CARRIER                             Period of Coverage               and Frequency              Amount
       Country Financial 008661086                                                              1/21/2020-1/21/2021               Monthly        $255.76
       Amica 003691182                                                                          1/20/2020 - 1/20/2021             Monthly           $208




                             DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Application for Final Decree: September 1, 2020




       I declare under penalty of perjury that this statement and the accompanying documents and reports are true and correct to the best of my knowledge and
                                                                                belief.


                                               This 16th day of June, 2020.
                                                                                                                             /s/ Quentin Stephens
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MONTHLY OPERATING REPORT -                                                                                    ATTACHMENT NO. 2
POST CONFIRMATION


                                     CHAPTER 11 POST-CONFIRMATION
                                SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name:                   In re: Quentin Alexander Stephens

Case Number:                 16-71479-jrs

Date of Plan Confirmation:   3/11/2020

                     All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                                  Quarterly         Post Confirmation Total
1.   CASH (Beginning of Period)                                        $                   5212.8 $


2.   INCOME or RECEIPTS during the Period                              $                  52388.91 $


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)               U.S. Trustee Quarterly Fees                $                     $0.00 $                     0
          (ii)              Federal Taxes                                                      N/A                     N/A
          (iii)             State Taxes                                                        N/A                     N/A
          (iv)              Other Taxes                                                        N/A                     N/A

     b.   All Other Operating Expenses:                                $                   42611.7 $                42611.7

     c.   Plan Payments:
          (i)                Administrative Claims                     $                         0 $                      0
          (ii)               Class One
          (iii)              Class Two
          (iv)               Class Three
          (v)                Class Four
          (vi)               Class Five
                             (Attach additional pages as needed)
                             Total
     Total Disbursements (Operating & Plan)                             $                            $

1.   CASH (End of Period)                                              $                  14990.01                 14990.01
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                                                                                                                                    ATTACHMENT NO. 3
POST CONFIRMATION



                                                          CHAPTER 11 POST-CONFIRMATION
                                                          BANK ACCOUNT RECONCILIATIONS
                                                      Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                                            Account                Account                Account
                                                                             April                  May                    June
Name of Bank:                                                       Regions Bank           Regions Bank        Regions Bank
Account Number:                                                     253264967              253264967           253264967
Purpose of Account (Operating/Payroll/Tax)                          DIP                    DIP                 DIP
Type of Account (e.g. checking)                                     Checking               Checking            Checking

1. Balance per Bank Statement                                       $5,212.80              $11,260.80          $11,260.80
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)                        $5,212.80              $11,260.80          $14,990.01

Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information
                                                                             Date of               Type of             Purchase     Current
                  Bank / Account Name / Number                              Purchase              Instrument            Price        Value
N/A




Note: Attach copy of each investment account statement.
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               QUENTIN A STEPHENS
               ROSA M BINION
               1910 CLACK RD
               MADISON GA 30650-4805
                                                                                                             ACCOUNT #             0253264967
                                                                                                                                               060
                                                                                                                        Cycle                   09
                                                                                                                   Enclosures                     0
                                                                                                                        Page                 1 of 4

                                                        LIFEGREEN CHECKING
                                                 February 15, 2020 through March 18, 2020



                                                                    SUMMARY
Beginning Balance                                $5,122.06                  Minimum Balance                                              $700
Deposits & Credits                              $14,302.92      +           Average Balance                                            $3,398
Withdrawals                                      $9,991.29      -
Fees                                                $44.85      -
Automatic Transfers                                  $0.00      +
Checks                                           $7,400.00      -
Ending Balance                                   $1,988.84



                                                         DEPOSITS & CREDITS
       02/21      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,058.81
       02/28      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,058.80
       03/02      Zelle Credit From Michael Back Ref# 005900202iaw                                                                    1,600.00
       03/06      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       03/06      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          4,470.54
       03/13      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.39

                                                                                               Total Deposits & Credits             $14,302.92


                                                              WITHDRAWALS
       02/18      Card Purchase Country Inn & S 3829 Fairburn GA 30213 0149                                                             126.83
       02/19      Card Purchase Peachtree Road 5921 404-2343832 GA 30309 0149                                                            92.51
       02/21      Card Purchase New York Prime 5812 Atlanta   GA 30326 0149                                                             141.62
       02/21      Card Purchase Chevron 0043021 5541 Atlanta   GA 30309 0149                                                             11.41
       02/24      Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                                         1,122.00
       02/24      PIN Purchase Cracker Barrel 5812 McDonough GA       0149                                                               62.77
       02/28      Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                                              1.25
       03/02      Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                                              0.90




                                  For all your banking needs, please call 1-800-REGIONS (734-4667)
                              or visit us on the Internet at www.regions.com. (TTY/TDD 1-800-374-5791)
                                  For new purchase or refinance mortgage information, contact your
                                  Mortgage Production Manager, Randy Styles, NMLS 546618, at (678)845-5777
                                  or online at www.regionsmortgage.com/randymstyles.
                       For payment and other information about your existing mortgage loan, contact Mortgage
                             Servicing at 1-800-986-2462 and for Home Equity loans call 1- 800-231-7493.
                                                  Thank You For Banking With Regions!
                                          2020 Regions Bank Member FDIC. All loans subject to credit approval.
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   QUENTIN A STEPHENS
   ROSA M BINION
   1910 CLACK RD
                                                                                    ACCOUNT #             0253264967
   MADISON GA 30650-4805
                                                                                                                     060
                                                                                               Cycle                  09
                                                                                          Enclosures                    0
                                                                                               Page                2 of 4

                                           WITHDRAWALS (CONTINUED)
  03/02     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                        569.00
  03/02     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                        525.00
  03/02     Card Purchase Mellow Mushroom 5812 Stockbridge GA 30281 0149                                        83.47
  03/02     Card Purchase Sq *Woody S 2 L 5812 Atlanta        GA 30305 0149                                     25.43
  03/03     Card Purchase Chai-Yo          5812 Atlanta   GA 30305 0149                                        340.67
  03/03     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           0.90
  03/03     Card Purchase Google *Pay        4829 G.CO/Walleth# CA 94043 0149                                1,200.00
  03/03     Country Mutual Insurance. Quentin Stephe                                                           225.63
  03/04     Paypal         Transfer Quentin Stephe 5sr22aw2mw8s8                                               399.96
  03/05     Card Purchase Package Depot 5921 Fairburn         GA 30213 0149                                     60.32
  03/09     Zelle Debit to Detron Hammond Ref# 0067005041nj                                                    425.00
  03/09     Card Purchase The Juicy Crab 5812 678-7827210 GA 30253 0149                                         44.48
  03/09     Card Purchase 1925 Extra Spac 4225 Snellville GA 30078 0149                                        269.00
  03/09     Card Purchase U-Haul Moving & 4225 800-789-3638 GA 30078 0149                                      279.80
  03/09     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           1.20
  03/09     Card Purchase Google *Pay        4829 G.CO/Walleth# CA 94043 0149                                1,000.00
  03/09     Card Purchase Google *Pay        4829 G.CO/Walleth# CA 94043 0149                                  350.00
  03/09     Card Purchase Best Buy Mht 0 5732 Atlanta       GA 30324 0149                                      196.01
  03/10     Card Purchase New York Prime 5812 Atlanta        GA 30326 0149                                     274.43
  03/10     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           2.50
  03/10     Card Purchase Sp * Grandvoyag 5734 Www.Thegrandv CA 90069 0149                                     320.00
  03/11     Zelle Debit to Detron Hammond Ref# 007100505jf4                                                    400.00
  03/11     Card Purchase Piece of Cake 5462 Atlanta        GA 30318 0149                                       64.52
  03/11     Card Purchase Wholefds Wpf 10 5411 Atlanta        GA 30305 0149                                    376.54
  03/12     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           0.70
  03/16     Card Purchase Google *Pay        4829 G.CO/Walleth# CA 94043 0149                                  149.00
  03/16     Card Purchase LA Parrilla #11 5812 McDonough GA 30253 0149                                          67.88
  03/16     Paypal         Transfer Quentin Stephe 5sr22aw5q5efc                                               402.22
  03/17     Card Purchase Google *Pay        4829 G.CO/Walleth# CA 94043 0149                                  350.00
  03/18     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           0.60
  03/18     Card Purchase Waffle House 87 5812 Union City GA 30291 0149                                         27.74

                                                                                Total Withdrawals           $9,991.29


                                                       FEES
  02/19     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95
  02/26     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95
  03/09     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95

                                                                                      Total Fees              $44.85


                                                                           Total For This           Total Calendar
                                                                        Statement Period              Year-to-Date
Total Overdraft Fees (may include waived fees)                                           0.00                  36.00
Total Returned Item Fees (may include waived fees)                                       0.00                   0.00



                                                     CHECKS
  Date          Check No.                Amount                         Date           Check No.              Amount
  02/19                                    45.00                        02/24                                   75.00
  02/21                                   120.00                        03/02                                  200.00
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QUENTIN A STEPHENS
ROSA M BINION
1910 CLACK RD
                                                                          ACCOUNT #              0253264967
MADISON GA 30650-4805
                                                                                                            060
                                                                                      Cycle                  09
                                                                                 Enclosures                    0
                                                                                      Page                3 of 4

                                             CHECKS (CONTINUED)
Date         Check No.               Amount                      Date         Check No.              Amount
03/04                                  80.00                     02/20          995066              1,950.00
03/09                                 120.00                     02/25          995067              2,000.00
03/11                                 100.00                     03/03          995069 *              650.00
03/16                                  60.00                     03/10          995071 *            2,000.00
                                                                          Total Checks             $7,400.00
* Break In Check Number Sequence.


                                        DAILY BALANCE SUMMARY
Date                     Balance         Date               Balance         Date                    Balance
02/18                    4,995.23        02/28              3,461.38        03/10                   1,930.65
02/19                    4,842.77        03/02              3,657.58        03/11                     989.59
02/20                    2,892.77        03/03              1,240.38        03/12                     988.89
02/21                    4,678.55        03/04                760.42        03/13                   3,046.28
02/24                    3,418.78        03/05                700.10        03/16                   2,367.18
02/25                    1,418.78        03/06              7,228.02        03/17                   2,017.18
02/26                    1,403.83        03/09              4,527.58        03/18                   1,988.84



                              You may request account disclosures containing
                               terms, fees, and rate information (if applicable)
                             for your account by contacting any Regions office.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error. If we decide there was no error,
we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of the documents that we used in our
investigation.

FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
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               QUENTIN A STEPHENS
               ROSA M BINION
               1910 CLACK RD
               MADISON GA 30650-4805
                                                                                                             ACCOUNT #             0253264967
                                                                                                                                               060
                                                                                                                        Cycle                   09
                                                                                                                   Enclosures                     0
                                                                                                                        Page                 1 of 4

                                                        LIFEGREEN CHECKING
                                                    March 19, 2020 through April 17, 2020



                                                                    SUMMARY
Beginning Balance                                $1,988.84                  Minimum Balance                                            $1,598
Deposits & Credits                              $19,520.37      +           Average Balance                                            $5,027
Withdrawals                                      $9,908.96      -
Fees                                                $44.85      -
Automatic Transfers                                  $0.00      +
Checks                                           $5,326.00      -
Ending Balance                                   $6,229.40



                                                         DEPOSITS & CREDITS
       03/20      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       03/23      Zelle Credit From Terry Collin Ref# 00810050a0d6                                                                      500.00
       03/23      Wire Transfer Collins Allian                                                                                        3,500.00
       03/27      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.37
       03/30      Zelle Credit From Michael Back Ref# 00900020fcch                                                                    1,600.00
       04/03      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       04/10      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       04/10      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          3,633.48
       04/17      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38

                                                                                               Total Deposits & Credits             $19,520.37


                                                              WITHDRAWALS
       03/19      Card Purchase Google *Pay   4829 G.CO/Walleth# CA 94043 0149                                                            1.00
       03/23      Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                                              2.70
       03/23      Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                                         1,122.00
       03/23      Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                                           225.00
       03/23      Card Purchase Google *Pay   4829 G.CO/Walleth# CA 94043 0149                                                          140.00




                                  For all your banking needs, please call 1-800-REGIONS (734-4667)
                              or visit us on the Internet at www.regions.com. (TTY/TDD 1-800-374-5791)
                                  For new purchase or refinance mortgage information, contact your
                                  Mortgage Production Manager, Randy Styles, NMLS 546618, at (678)845-5777
                                  or online at www.regionsmortgage.com/randymstyles.
                       For payment and other information about your existing mortgage loan, contact Mortgage
                             Servicing at 1-800-986-2462 and for Home Equity loans call 1- 800-231-7493.
                                                  Thank You For Banking With Regions!
                                          2020 Regions Bank Member FDIC. All loans subject to credit approval.
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   QUENTIN A STEPHENS
   ROSA M BINION
   1910 CLACK RD
                                                                                    ACCOUNT #             0253264967
   MADISON GA 30650-4805
                                                                                                                     060
                                                                                               Cycle                  09
                                                                                          Enclosures                    0
                                                                                               Page                2 of 4

                                           WITHDRAWALS (CONTINUED)
  03/23     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           1.80
  03/26     Card Purchase Shell Oil 57529 5541 Atlanta   GA 30309 0149                                           2.93
  03/26     Card Purchase Waffle House 87 5812 Union City GA 30291 0149                                         20.79
  03/26     Card Purchase Waffle House 87 5812 Union City GA 30291 0149                                         13.90
  03/27     Card Purchase Peachtree Road 5921 404-2343832 GA 30309 0149                                        149.16
  03/30     Card Purchase Houston S (404) 5812 Atlanta    GA 30327 0149                                        248.29
  03/30     Card Purchase Chick-Fil-A #01 5814 Fairburn   GA 30213 0149                                         44.09
  03/30     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           1.80
  03/30     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     158.00
  03/30     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                        688.00
  03/30     Country Mutual Insurance. Quentin Stephe                                                           264.46
  03/31     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           0.90
  04/02     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                      1,422.00
  04/02     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                   1,200.00
  04/03     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                        525.00
  04/06     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     140.00
  04/09     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                      1,494.44
  04/09     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                   1,000.00
  04/13     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     140.00
  04/13     Card Purchase Verizon Wrl My 4814 800-9220204 CA 95630 0149                                        500.00
  04/15     Zelle Debit to Detron Hammond Ref# 01060080i8qq                                                    400.00
  04/16     Card Purchase Usa*snack Soda 5814 Union City GA 30291 0149                                           2.70

                                                                                Total Withdrawals           $9,908.96


                                                       FEES
  03/24     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95
  04/02     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95
  04/14     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95

                                                                                      Total Fees              $44.85


                                                                           Total For This           Total Calendar
                                                                        Statement Period              Year-to-Date
Total Overdraft Fees (may include waived fees)                                           0.00                  36.00
Total Returned Item Fees (may include waived fees)                                       0.00                   0.00



                                                     CHECKS
  Date          Check No.                Amount                         Date           Check No.              Amount
  03/25                                    40.00                        03/20            995072                200.00
  03/31                                    40.00                        03/24            995074 *            1,999.00
  04/02                                   100.00                        04/06            995076 *              887.00
  04/13                                    40.00                        04/14            995078 *            2,000.00
  04/17                                    20.00
                                                                                    Total Checks            $5,326.00
  * Break In Check Number Sequence.
   Case 16-71479-jrs          Doc 121Main Filed 08/04/20
                             Regions Bank
                             Conyers                      Entered 08/04/20   13:32:45       Desc Main
                                          Document
                             1848 Highway 138          Page 11 of 39
                             Conyers, GA 30094




QUENTIN A STEPHENS
ROSA M BINION
1910 CLACK RD
                                                                         ACCOUNT #             0253264967
MADISON GA 30650-4805
                                                                                                          060
                                                                                    Cycle                  09
                                                                               Enclosures                    0
                                                                                    Page                3 of 4

                                       DAILY BALANCE SUMMARY
Date                    Balance         Date               Balance         Date                   Balance
03/19                   1,987.84        03/30              6,365.72        04/10                  7,289.67
03/20                   3,845.22        03/31              6,324.82        04/13                  6,609.67
03/23                   6,353.72        04/02              3,587.87        04/14                  4,594.72
03/24                   4,339.77        04/03              5,120.25        04/15                  4,194.72
03/25                   4,299.77        04/06              4,093.25        04/16                  4,192.02
03/26                   4,262.15        04/09              1,598.81        04/17                  6,229.40
03/27                   6,170.36



                             You may request account disclosures containing
                              terms, fees, and rate information (if applicable)
                            for your account by contacting any Regions office.
               Case 16-71479-jrs                Doc 121         Filed 08/04/20 Entered 08/04/20 13:32:45                                Desc Main
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                                                               Document      Page 12 of 39


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error. If we decide there was no error,
we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of the documents that we used in our
investigation.

FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
          Case 16-71479-jrs             Doc 121Main Filed 08/04/20
                                       Regions Bank
                                       Conyers                      Entered 08/04/20                             13:32:45       Desc Main
                                                    Document
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                                       Conyers, GA 30094




               QUENTIN A STEPHENS
               ROSA M BINION
               1910 CLACK RD
               MADISON GA 30650-4805
                                                                                                             ACCOUNT #             0253264967
                                                                                                                                              060
                                                                                                                        Cycle                  09
                                                                                                                   Enclosures                    0
                                                                                                                        Page                1 of 3

                                                        LIFEGREEN CHECKING
                                                     April 18, 2020 through May 15, 2020



                                                                    SUMMARY
Beginning Balance                                $6,229.40                  Minimum Balance                                            $5,212
Deposits & Credits                              $10,829.52      +           Average Balance                                            $6,796
Withdrawals                                      $6,542.35      -
Fees                                                $14.95      -
Automatic Transfers                                  $0.00      +
Checks                                           $2,715.00      -
Ending Balance                                   $7,786.62



                                                         DEPOSITS & CREDITS
       04/20      Zelle Credit From McSmith Home Ref# 01080060lbqe                                                                    1,000.00
       04/24      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.37
       05/01      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.39
       05/08      Zelle Credit From Michael Back Ref# 012900708h0g                                                                    1,600.00
       05/08      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       05/15      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38

                                                                                               Total Deposits & Credits             $10,829.52


                                                              WITHDRAWALS
       04/20      Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                                        135.00
       04/20      Paypal      Transfer Quentin Stephe 5sr22awfmdf3n                                                                   1,000.00
       04/27      Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                                        138.00
       04/27      PIN Purchase Salem Spirits 5921 Conyers     GA       0149                                                              40.65
       04/28      Card Purchase Racetrac110 0 5542 Union City GA 30291 0149                                                              15.00
       04/28      Card Purchase Qt 770       5541 Conyers    GA 30013 0149                                                               50.48
       04/28      Card Purchase Qt 802       5541 Conyers    GA 30013 0149                                                               27.73
       04/28      Card Purchase Bojangles 1203 5814 Fairburn    GA 30213 0149                                                            47.71




                                  For all your banking needs, please call 1-800-REGIONS (734-4667)
                              or visit us on the Internet at www.regions.com. (TTY/TDD 1-800-374-5791)
                                  For new purchase or refinance mortgage information, contact your
                                  Mortgage Production Manager, Randy Styles, NMLS 546618, at (678)845-5777
                                  or online at www.regionsmortgage.com/randymstyles.
                       For payment and other information about your existing mortgage loan, contact Mortgage
                             Servicing at 1-800-986-2462 and for Home Equity loans call 1- 800-231-7493.
                                                  Thank You For Banking With Regions!
                                          2020 Regions Bank Member FDIC. All loans subject to credit approval.
      Case 16-71479-jrs           Doc 121Main Filed 08/04/20
                                 Regions Bank
                                 Conyers                      Entered 08/04/20         13:32:45        Desc Main
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                                 Conyers, GA 30094




   QUENTIN A STEPHENS
   ROSA M BINION
   1910 CLACK RD
                                                                                    ACCOUNT #             0253264967
   MADISON GA 30650-4805
                                                                                                                     060
                                                                                               Cycle                  09
                                                                                          Enclosures                    0
                                                                                               Page                2 of 3

                                           WITHDRAWALS (CONTINUED)
  04/28     Country Mutual Insurance. Quentin Stephe                                                           264.45
  05/04     Card Purchase Vzwrlss*bill PA 4814 800-9220204 CA 95630 0149                                       241.05
  05/04     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                   1,225.00
  05/11     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                        988.00
  05/11     Card Purchase Sq *Grub Truck 5814 Union City GA 30291 0149                                          62.67
  05/11     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                   1,000.00
  05/11     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     136.00
  05/11     Paypal      Transfer Quentin Stephe 5sr22awmqqey8                                                  699.24
  05/14     Card Purchase Racetrac110 0 5541 Union City GA 30291 0149                                           14.86
  05/14     Card Purchase Qt 770        5541 Conyers    GA 30013 0149                                           38.85
  05/15     Card Purchase Shell Oil 57542 5541 Conyers    GA 30013 0149                                         10.13
  05/15     Card Purchase Chick-Fil-A #01 5814 Fairburn   GA 30213 0149                                         21.53
  05/15     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     386.00

                                                                                Total Withdrawals           $6,542.35


                                                       FEES
  04/28     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95


                                                                           Total For This           Total Calendar
                                                                        Statement Period              Year-to-Date
Total Overdraft Fees (may include waived fees)                                           0.00                  36.00
Total Returned Item Fees (may include waived fees)                                       0.00                   0.00



                                                      CHECKS
  Date          Check No.                Amount                         Date           Check No.              Amount
  04/20                                   100.00                        05/11                                   55.00
  04/27                                   240.00                        05/15                                   40.00
  05/04                                   240.00                        04/29            995080              2,000.00
  05/11                                    40.00
                                                                                    Total Checks            $2,715.00
  * Break In Check Number Sequence.


                                             DAILY BALANCE SUMMARY
  Date                      Balance           Date               Balance              Date                   Balance
  04/20                     5,994.40          04/29              5,212.80             05/11                  6,240.61
  04/24                     8,051.77          05/01              7,270.19             05/14                  6,186.90
  04/27                     7,633.12          05/04              5,564.14             05/15                  7,786.62
  04/28                     7,212.80          05/08              9,221.52



                                 You may request account disclosures containing
                                  terms, fees, and rate information (if applicable)
                                for your account by contacting any Regions office.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
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New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error. If we decide there was no error,
we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of the documents that we used in our
investigation.

FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
          Case 16-71479-jrs             Doc 121Main Filed 08/04/20
                                       Regions Bank
                                       Conyers                      Entered 08/04/20                             13:32:45       Desc Main
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                                       Conyers, GA 30094




               QUENTIN A STEPHENS
               ROSA M BINION
               1910 CLACK RD
               MADISON GA 30650-4805
                                                                                                             ACCOUNT #             0253264967
                                                                                                                                               060
                                                                                                                        Cycle                   09
                                                                                                                   Enclosures                     0
                                                                                                                        Page                 1 of 4

                                                        LIFEGREEN CHECKING
                                                     June 18, 2020 through July 20, 2020



                                                                    SUMMARY
Beginning Balance                               $11,686.42                  Minimum Balance                                            $6,076
Deposits & Credits                              $31,510.19      +           Average Balance                                           $13,909
Withdrawals                                     $11,058.63      -
Fees                                                $29.90      -
Automatic Transfers                                  $0.00      +
Checks                                          $17,755.05      -
Ending Balance                                  $14,353.03



                                                         DEPOSITS & CREDITS
       06/18      Mobile Deposit-Avail Tonight                                                                                          500.00
       06/19      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       06/22      Mobile Deposit-Avail Tonight                                                                                        1,000.00
       06/26      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       06/30      Zelle Credit From Michael Back Ref# 01820030fq80                                                                    1,600.00
       07/01      Zelle Credit From Michael Back Ref# 01830030gi7q                                                                      200.00
       07/03      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       07/06      Card Credit Cash App*cash O 4829 VISA Direct CA 94103                  0149                                         9,357.50
       07/10      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.39
       07/10      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          6,965.78
       07/13      Zelle Credit From Henry, Latoy Ref# 01930080jjqg                                                                    1,600.00
       07/17      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38

                                                                                               Total Deposits & Credits             $31,510.19


                                                              WITHDRAWALS
       06/18      Card Purchase Vzwrlss*bill PA 4814 800-9220204 CA 95630 0149                                                          400.00
       06/22      Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                                         1,365.00




                                  For all your banking needs, please call 1-800-REGIONS (734-4667)
                              or visit us on the Internet at www.regions.com. (TTY/TDD 1-800-374-5791)
                                  For new purchase or refinance mortgage information, contact your
                                  Mortgage Production Manager, Randy Styles, NMLS 546618, at (678)845-5777
                                  or online at www.regionsmortgage.com/randymstyles.
                       For payment and other information about your existing mortgage loan, contact Mortgage
                             Servicing at 1-800-986-2462 and for Home Equity loans call 1- 800-231-7493.
                                                  Thank You For Banking With Regions!
                                          2020 Regions Bank Member FDIC. All loans subject to credit approval.
      Case 16-71479-jrs          Doc 121Main Filed 08/04/20
                                Regions Bank
                                Conyers                      Entered 08/04/20          13:32:45        Desc Main
                                             Document
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                                Conyers, GA 30094




   QUENTIN A STEPHENS
   ROSA M BINION
   1910 CLACK RD
                                                                                    ACCOUNT #             0253264967
   MADISON GA 30650-4805
                                                                                                                      060
                                                                                               Cycle                   09
                                                                                          Enclosures                     0
                                                                                               Page                 2 of 4

                                           WITHDRAWALS (CONTINUED)
  06/22     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     130.00
  06/29     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     130.00
  06/29     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     120.00
  06/29     Paypal      Transfer Quentin Stephe 5sr22ax2ey9wq                                                  808.00
  06/30     Card Purchase Cigars      5993 484-285-0400 PA 18015 0149                                          238.77
  06/30     Country Mutual Insurance. Quentin Stephe                                                           264.45
  07/03     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                        788.99
  07/03     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                   1,225.00
  07/03     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                      2,955.00
  07/03     Paypal      Transfer Quentin Stephe 5sr22ax3e9enc                                                  355.25
  07/06     Card Purchase McDonald S F174 5814 Fairburn     GA 30213 0149                                       26.31
  07/06     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     128.00
  07/09     Card Purchase U-Haul Moving & 4225 800-789-3638 GA 30078 0149                                      364.75
  07/13     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     135.00
  07/13     Paypal      Transfer Quentin Stephe 5sr22ax5lmq42                                                1,325.00
  07/16     Card Purchase Five Guys 0404 5814 703-339-2671 GA 30331 0149                                        94.06
  07/17     Card Purchase Vn Pho       5812 Morrow      GA 30260 0149                                           70.05
  07/20     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     135.00

                                                                                Total Withdrawals          $11,058.63


                                                       FEES
  06/29     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                           14.95
  07/10     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                           14.95

                                                                                      Total Fees              $29.90


                                                                           Total For This           Total Calendar
                                                                        Statement Period              Year-to-Date
Total Overdraft Fees (may include waived fees)                                           0.00                   36.00
Total Returned Item Fees (may include waived fees)                                       0.00                    0.00



                                                      CHECKS
  Date          Check No.                Amount                         Date           Check No.              Amount
  06/18                                   240.00                        07/10                                  240.00
  06/24                                    50.00                        07/15                                  140.00
  06/26                                   100.00                        07/20                                  100.00
  06/29                                    50.00                        07/02            995090              1,985.05
  07/02                                   200.00                        07/16            995093 *            2,150.00
  07/09                                12,500.00
                                                                                    Total Checks           $17,755.05
  * Break In Check Number Sequence.


                                             DAILY BALANCE SUMMARY
  Date                    Balance             Date               Balance              Date                   Balance
  06/18                  11,546.42            06/24             13,058.80             06/30                 14,990.01
  06/19                  13,603.80            06/26             15,016.18             07/01                 15,190.01
  06/22                  13,108.80            06/29             13,893.23             07/02                 13,004.96
   Case 16-71479-jrs       Doc 121Main Filed 08/04/20
                          Regions Bank
                          Conyers                      Entered 08/04/20   13:32:45       Desc Main
                                       Document
                          1848 Highway 138          Page 18 of 39
                          Conyers, GA 30094




QUENTIN A STEPHENS
ROSA M BINION
1910 CLACK RD
                                                                      ACCOUNT #             0253264967
MADISON GA 30650-4805
                                                                                                       060
                                                                                 Cycle                  09
                                                                            Enclosures                    0
                                                                                 Page                3 of 4

                                DAILY BALANCE SUMMARY (CONTINUED)
Date                 Balance          Date              Balance         Date                   Balance
07/03                9,738.10         07/10            14,844.76        07/16                 12,600.70
07/06               18,941.29         07/13            14,984.76        07/17                 14,588.03
07/09                6,076.54         07/15            14,844.76        07/20                 14,353.03



                          You may request account disclosures containing
                           terms, fees, and rate information (if applicable)
                         for your account by contacting any Regions office.
               Case 16-71479-jrs                Doc 121         Filed 08/04/20 Entered 08/04/20 13:32:45                                Desc Main
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error. If we decide there was no error,
we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of the documents that we used in our
investigation.

FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
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                                       Conyers, GA 30094




               QUENTIN A STEPHENS
               ROSA M BINION
               1910 CLACK RD                                                                                                                     1
               MADISON GA 30650-4805
                                                                                                             ACCOUNT #             0253264967
                                                                                                                                              060
                                                                                                                        Cycle                  09
                                                                                                                   Enclosures                    0
                                                                                                                        Page                1 of 4

                                                        LIFEGREEN CHECKING
                                                     May 16, 2020 through June 17, 2020



                                                                    SUMMARY
Beginning Balance                                $7,786.62                  Minimum Balance                                            $5,183
Deposits & Credits                              $20,881.63      +           Average Balance                                           $10,236
Withdrawals                                     $10,477.03      -
Fees                                                $59.80      -
Automatic Transfers                                  $0.00      +
Checks                                           $6,445.00      -
Ending Balance                                  $11,686.42



                                                         DEPOSITS & CREDITS
       05/22      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.37
       05/26      Mobile Deposit-Avail Tonight                                                                                        3,000.00
       05/27      Mobile Deposit-Avail Tonight                                                                                        2,000.00
       05/29      Zelle Credit From Michael Back Ref# 01500080ho3n                                                                    1,600.00
       05/29      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       06/05      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          1,252.13
       06/05      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.38
       06/11      Mobile Deposit-Avail Tonight                                                                                        1,300.00
       06/11      Mobile Deposit-Avail Tonight                                                                                        3,500.00
       06/12      Sons Bavarian Ll Direct Pay Stephens, Quen                                                                          2,057.37

                                                                                               Total Deposits & Credits             $20,881.63


                                                              WITHDRAWALS
       05/18      Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                                        148.00
       05/21      Card Purchase Vzwrlss*bill PA 4814 800-9220204 CA 95630 0149                                                          400.00
       05/26      Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                                        140.00
       05/26      Paypal      Transfer Quentin Stephe 5sr22awr3seq4                                                                   1,001.00




                                  For all your banking needs, please call 1-800-REGIONS (734-4667)
                              or visit us on the Internet at www.regions.com. (TTY/TDD 1-800-374-5791)
                                  For new purchase or refinance mortgage information, contact your
                                  Mortgage Production Manager, Randy Styles, NMLS 546618, at (678)845-5777
                                  or online at www.regionsmortgage.com/randymstyles.
                       For payment and other information about your existing mortgage loan, contact Mortgage
                             Servicing at 1-800-986-2462 and for Home Equity loans call 1- 800-231-7493.
                                                  Thank You For Banking With Regions!
                                          2020 Regions Bank Member FDIC. All loans subject to credit approval.
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   QUENTIN A STEPHENS
   ROSA M BINION
   1910 CLACK RD
                                                                                    ACCOUNT #             0253264967
   MADISON GA 30650-4805
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                                           WITHDRAWALS (CONTINUED)
  05/28     Country Mutual Insurance. Quentin Stephe                                                           264.45
  05/29     Paypal      Transfer Quentin Stephe 5sr22awskaal8                                                1,222.22
  06/01     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     140.00
  06/02     Card Purchase Bluffmycall.Com 7299 234-2220179 NJ 08701 0149                                        10.00
  06/03     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                   1,225.00
  06/08     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     140.00
  06/08     Card Purchase 1925 Extra Spac 4225 Snellville GA 30078 0149                                        300.00
  06/08     PIN Purchase Racetrac110     5542 Union City GA      0149                                           35.33
  06/09     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                   1,325.00
  06/11     Card Purchase Amzn Mktp Us*my 5942 Amzn.Com/Bill WA 98109 0149                                      38.15
  06/12     Paypal      Transfer Quentin Stephe 5sr22awwb5nly                                                  944.44
  06/15     Card Purchase Qt 770       5541 Conyers      GA 30013 0149                                          38.37
  06/15     Card Purchase Google *Pay     4829 G.CO/Walleth# CA 94043 0149                                     130.00
  06/15     Card Purchase Cash App*quenti 4829 8774174551 CA 94103 0149                                      1,622.00
  06/15     Paypal      Transfer Quentin Stephe 5sr22awwx35ac                                                1,125.00
  06/16     Card Purchase Cigars       5993 484-285-0400 PA 18015 0149                                         228.07

                                                                                Total Withdrawals          $10,477.03


                                                       FEES
  05/18     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                           14.95
  05/28     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                           14.95
  06/11     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                           14.95
  06/11     Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                           14.95

                                                                                      Total Fees              $59.80


                                                                           Total For This           Total Calendar
                                                                        Statement Period              Year-to-Date
Total Overdraft Fees (may include waived fees)                                           0.00                   36.00
Total Returned Item Fees (may include waived fees)                                       0.00                    0.00



                                                      CHECKS
  Date          Check No.                Amount                         Date           Check No.              Amount
  05/19                                    40.00                        05/18            995082              2,000.00
  06/01                                    70.00                        05/28            995084 *            1,995.00
  06/04                                   100.00                        06/11            995086 *            2,000.00
  06/08                                   240.00
                                                                                    Total Checks            $6,445.00
  * Break In Check Number Sequence.


                                             DAILY BALANCE SUMMARY
  Date                      Balance           Date               Balance              Date                   Balance
  05/18                     5,623.67          05/27             11,100.04             06/03                  9,815.80
  05/19                     5,583.67          05/28              8,825.64             06/04                  9,715.80
  05/21                     5,183.67          05/29             11,260.80             06/05                 13,025.31
  05/22                     7,241.04          06/01             11,050.80             06/08                 12,309.98
  05/26                     9,100.04          06/02             11,040.80             06/09                 10,984.98
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                          Conyers, GA 30094




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QUENTIN A STEPHENS
ROSA M BINION
1910 CLACK RD
                                                                      ACCOUNT #             0253264967
MADISON GA 30650-4805
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                                                                                 Cycle                  09
                                                                            Enclosures                    0
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                                DAILY BALANCE SUMMARY (CONTINUED)
Date                 Balance          Date              Balance         Date                   Balance
06/11               13,716.93         06/15            11,914.49        06/16                 11,686.42
06/12               14,829.86



                          You may request account disclosures containing
                           terms, fees, and rate information (if applicable)
                         for your account by contacting any Regions office.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


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ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
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